                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

BRENTFORD TAYLOR, JR.

                             Plaintiff,

              v.                                          Case No. 17-cv-1519

PEDRO RUIZ, et al.,

                             Defendant.


                                           ORDER


       Plaintiff Brentford Taylor, Jr. is representing himself in this 42 U.S.C. § 1983 lawsuit.

He was previously incarcerated at the Milwaukee County Jail and sued the defendants

because he believes he was not provided adequate medical care after he injured his ankle. At

the end of February, I denied Taylor’s various motions to amend his complaint and gave him

an opportunity to file a single, renewed motion. (Docket # 113.) He had until March 23, 2020

to do so. (Id.) When he did not file a motion, the operative complaint remained in effect and

the next step in the case was dispositive motions. So, I set a deadline of May 15, 2020 for

dispositive motions, explained what Taylor would need to do to properly respond to the

defendants’ motion, and also warned him that failure to respond to the motion would result

in me granting the motion as unopposed and entering judgment in the defendants’ favor.

(Docket # 114.) Both of these orders were sent to Taylor at the address provided to the court.

       The defendants filed their motion on May 15, 2020. (Docket # 115.) They mailed a

copy of their motion and all the supporting documents to Taylor. (Docket # 126.) To date,

Taylor has not responded to the defendants’ motion or corresponded with the court in any



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way. The last time he corresponded with the court was in October 2019. (Docket # 111.) I

have no reason to believe that Taylor is not in receipt of the orders the court has sent or the

defendants’ motion. I explicitly warned Taylor that failure to respond to summary judgment

would result in me granting the motion as unopposed. Given his apparent lack of interest in

continuing his case and my prior warning, I will grant the defendants’ motion for summary

judgment as unopposed, enter judgment in their favor, and dismiss the case. Civil L.R. 7(d);

Civil L.R. 41(c) (E.D. Wis.).

       NOW, THEREFORE, IT IS ORDERED that the defendants’ motion for summary

judgment (Docket # 115) is GRANTED as unopposed.

       IT IS FURTHER ORDERED that the case is DISMISSED with prejudice. The Clerk

of Court shall enter judgment accordingly.

                                         in this 9th day of July, 20
              Dated at Milwaukee, Wisconsin                       2 0
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                                                                  2020.



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